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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


ARTHUR CARSON,                                   §
         Plaintiff,                              §
                                                 §
v.                                               §           3:10-CV-1523-G-BK
                                                 §
OFFICER KELLY, et al.,                           §
          Defendants.                            §



                 FINDINGS, CONCLUSIONS AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to the provisions of 28 U.S.C. § 636(b) and Special Order 3, this case was

referred for pretrial management. The cause is now before the Court on the City of Dallas’s

Motion to Dismiss Plaintiff’s Complaint Pursuant to Rule 12(b)(6), (Doc. 21), and Officer

Kelly’s Motion to Dismiss Plaintiff’s Complaint Pursuant to Rule 12(b)(6), (Doc. 25). For the

reasons stated herein, the motions should be GRANTED.

                                       I. BACKGROUND

        Plaintiff filed a pro se, civil rights complaint under 42 U.S.C. §§ 1983, 1988, against

Dallas Police Officer Kelly and the Dallas Police Department, arising out of Defendants’ alleged

violation of Plaintiff’s rights under the Equal Protection Clause of the Constitution.1 (Doc. 1 at

1). Plaintiff claims that, based on his race and gender, Officer Kelly refused to investigate

Plaintiff’s assault as well as damage done to his car by a female acquaintance, Evelyn Moore

(“Evelyn”). (Id. at 1-3). He alleges that in June 2010, he went to visit Ruben Moore, who had



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         Plaintiff subsequently named the City of Dallas in lieu of the Dallas Police Department.
(Doc. 8 at 4).
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been assaulted the evening before by his estranged wife, Eveyln. (Doc. 8 at 2.) Shortly after his

arrival, Plaintiff saw Evelyn come from the backyard with a stick in her hand, and she began to

curse at him. (Id.). After exchanging a few words, Evelyn approached Plaintiff and hit him in

the face with the stick. (Id.). Plaintiff threw her to the ground and removed the stick from her

hand, after which Evelyn broke Plaintiff’s car windshield with a hammer. (Id.). Plaintiff called

911 and two white officers responded, including Officer Kelly.

        Plaintiff alleges that Officer Kelly was “rude and [i]nattentive to the situation,” failed to

take Plaintiff’s complaint seriously, ignored witness statements, and refused to arrest Evelyn

despite her two previous assaults on Ruben Moore as well as the assault on Plaintiff. (Id. at 3-5;

Doc. 15 at 2). According to Plaintiff, “Officer Kelly followed the practice, policy, or custom in

not caring about African-American victims, and ignoring the enforcement of the Law, in regards

to protecting African-American males.” (Doc. 15 at 3). He also alleged that the Dallas Police

Department had a custom of not enforcing the law, but he needed discovery to establish the

nature of the policy. (Id. at 5). Plaintiff stated that he also wished to raise state law tort claims,

but could not identify such claims absent discovery. (Id. at 5-6). He sought monetary damages

as well as declaratory and injunctive relief to the effect that the “current practices, policies,

actions are unconstitutional.” (Doc. 8 at 5-6). Both Defendants now move to dismiss Plaintiff’s

complaint pursuant to FED . R. CIV . P. 12(b)(6). (Docs. 21, 25).

                               II. ARGUMENTS AND ANALYSIS

        A plaintiff fails to state a claim for relief under Rule 12(b)(6) when the complaint does

not contain “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007). In order to overcome a Rule 12(b)(6) motion, a plaintiff’s


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complaint should “contain either direct allegations on every material point necessary to sustain a

recovery … or contain allegations from which an inference may fairly be drawn that evidence on

these material points will be introduced at trial.” Campbell v. City of San Antonio, 43 F.3d 973,

975 (5th Cir. 1995) (quotation omitted). Moreover, the complaint should not simply contain

conclusory allegations, but must be pled with a certain level of factual specificity, and the district

court cannot “accept as true conclusory allegations or unwarranted deductions of fact.” Collins v.

Morgan Stanley Dean Witter, 224 F.3d 496, 498 (5th Cir. 2000) (quotation omitted). The

standard set forth in Rule 8 of the Federal Rules of Civil Procedure “demands more than an

unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 129 S.Ct. 1937,

1949 (2009). A complaint thus is not sufficient if it merely contains “naked assertions” devoid

of factual enhancement. Id.

       A.      Claim Pursuant to Section 1988

       Although Plaintiff claims that he is seeking relief pursuant to 42 U.S.C. section 1988, that

statute does not give rise to a private cause of action. Moor v. County of Alameda, 411 U.S. 693,

703-04 & n.17 (1973). That section simply defines the procedures under which remedies may

otherwise be sought in civil rights actions. Id. Further, section 1988 authorizes the award of

attorneys’ fees in the discretion of the court. See White v. New Hampshire Dept. of Employment

Sec., 455 U.S. 445, 454 (1982). Accordingly, Plaintiff’s claims brought under section 1988

should be dismissed.

       B.      Equal Protection Claim

       Officer Kelly argues, in support of dismissal, that Plaintiff does not allege sufficient facts

to show that Kelly treated similarly-situated, non-African American males, who were the victims


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of female assaults, differently than he treated Plaintiff. (Doc. 25 at 6-7). Further, Officer Kelly

maintains, Plaintiff did not allege any facts to suggest that Kelly’s conduct was motivated by

Plaintiff’s race or gender or that Kelly had a discriminatory state of mind during his interactions

with Plaintiff. (Id. at 7-8).

        Officer Kelly also urges the Court to dismiss Plaintiff’s requests for declaratory and

injunctive relief because he does not specify the type of injunctive relief he seeks, and his request

for a declaration that the City’s policies are unconstitutional is superfluous. (Id. at 8-9). Finally,

Officer Kelly maintains that to the extent Plaintiff seeks to raise any state law claims, he has not

alleged them with specificity. (Id. at 8).

        Plaintiff’s response to Officer Kelly’s Rule 12(b)(6) motion does not address his claims

against Officer Kelly or Kelly’s arguments in support of dismissal. (See generally Doc. 27).

        The Equal Protection Clause requires that similarly-situated persons be treated alike. City

of Cleburne, Texas v. Cleburne Living Center, Inc., 473 U.S. 432, 439 (1985). To state a claim

of racial discrimination under the Equal Protection Clause, a plaintiff must allege that he was

treated differently than other similarly-situated individuals and that the unequal treatment

stemmed from a discriminatory purpose. Priester v. Lowndes County, 354 F.3d 414, 424 (5th

Cir. 2004). A discriminatory purpose “implies that the decision maker singled out a particular

group for disparate treatment and selected his course of action at least in part for the purpose of

causing its adverse effect on an identifiable group.” Taylor v. Johnson, 257 F.3d 470, 473 (5th

Cir. 2001).

        Plaintiff’s pleadings, even when liberally construed in light of his pro se status, fail to

allege that Officer Kelly treated him differently than other similarly-situated individuals. See


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Johnson v. Rodriguez, 110 F.3d 299, 309 (5th Cir. 1997) (quoted case omitted) (equal protection

violation “‘occurs only when, inter alia, the governmental action in question classifies between

two or more relevant persons or groups’”). While Plaintiff identifies two other incidents when

Evelyn allegedly assaulted Ruben Moore in domestic disturbances and the Dallas Police

Department took no action, he fails to allege how those incidents were similar to the non-

domestic assault in which he was involved. (Doc. 15 at 2).

       In addition, Plaintiff fails to identify any similarly-situated individuals who were not

African-Americans who were treated more favorably by Officer Kelly and/or the Dallas Police

Department. (Id. at 3). He states merely that “[h]ad a[n] African [sic] male assaulted anyone . . .

jail would have been the outcome of the assault, and property damage.” (Id. at 3). His

conclusion is based on a “life-time observation of the Dallas Police Department [and its]

treatment of African-American crime victims as opposed to white Americans.” (Id.). However,

he presents nothing more than general, conclusory allegations based on his own personal

impressions, which is inadequate to survive a motion to dismiss. Iqbal, 129 S.Ct. at 1949;

Collins, 224 F.3d at 498; see Pedraza v. Meyer, 919 F.2d 317, 318 n.1 (5th Cir. 1990) (holding

that vague and conclusory allegations that one’s equal protection rights have been violated are

insufficient to raise an equal protection claim).

       Nor does Plaintiff sufficiently allege that the unequal treatment he suffered stemmed from

Officer Kelly’s intentionally discriminatory purpose. Priester, 354 F.3d at 424. Apart from his

general allegations of racial discrimination, his pleadings focus only on Officer Kelly’s failure to

take Plaintiff’s complaint seriously and refusal to arrest Evelyn. This, however, is not sufficient

to adequately plead Officer Kelly’s discriminatory state of mind because Plaintiff did not allege


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any plausible facts showing that Officer Kelly singled Plaintiff out specifically based on his

gender and race. See Iqbal, 129 S. Ct. at 1952 (dismissal appropriate where complaint failed to

“contain any factual allegation sufficient to plausibly suggest [defendants’] discriminatory state

of mind”). Therefore, Plaintiff fails to state a claim for an equal protection violation under

section 1983, and his claim against Officer Kelly should be dismissed.

        C.      City of Dallas

        The City contends that it is entitled to dismissal of the claims against it because Plaintiff

has only pleaded in conclusory fashion that the Dallas Police Department has a custom or policy

of discriminating against African-American males who are the victimized by women. (Doc. 21

at 8). The City maintains that the domestic dispute between Evelyn and her estranged husband is

different in kind from the non-domestic assault involving Evelyn and Plaintiff, and therefore

does not demonstrate a custom or policy by the City to discriminate against African-American

male victims of assault by women. (Id.). Because Plaintiff thus has alleged only one incident of

alleged discrimination, the City contends that he cannot show a discriminatory policy or custom.

(Id. at 8-9). Further, the City argues that Plaintiff has failed to plead (1) the identity of the City’s

final policymaker or facts that would show that the City’s policymakers had knowledge of the

alleged custom; and (2) that the City’s custom was the moving force and actual cause of the

violation of Plaintiff’s constitutional rights. (Id. at 9-10).

        Plaintiff responds that the Court should take judicial notice of the number of excessive

force cases relating to African-American males by the Dallas Police Department and the

conviction ratio for African-American males, both as compared to the overall population. (Doc.

27 at 2). Plaintiff maintains that he needs to conduct discovery because statistical data is


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essential to prove his case, and he attaches to his response two articles in support of his belief

that the police discriminate against African-American males. (Id. at 2, 4-7).

       In reply, the City objects to the inclusion of the documents because they are outside the

scope of the pleadings and contends that the Court should not consider them in ruling on its

Motion to Dismiss. (Doc. 30 at 2-3). Further, the City argues that the Court should not take

judicial notice of the facts requested by Plaintiff because his allegations are subject to dispute and

not capable of accurate determination by unquestionable sources. (Id. at 3). Last, the City

contends that discovery is not warranted until Plaintiff states a viable claim, which he has not

done. (Id. at 4-5).

       Municipalities and other local government entities are “persons” within the scope of

section 1983. Monell v. Dep’t of Soc. Servs. of City of New York, 436 U.S. 658, 690 (1978). “It

is only when the ‘execution of the government’s policy or custom . . . inflects the injury’ that the

municipality may be held liable.” City of Canton v. Harris, 489 U.S. 378, 385 (1989). To

impose section 1983 liability on a municipality, a plaintiff must show that: (1) his constitutional

rights were violated; (2) the municipality had a custom or policy; and (3) the custom or policy

was the moving force behind the violation. Piotrowski v. City of Houston, 237 F.3d 567, 578

(5th Cir. 2001). The unconstitutional acts complained of must be attributable directly to the

municipal entity through some sort of official action or imprimatur. Id. If an act is performed

pursuant to a custom that has not formally been approved by a policymaker, a municipality is

subject to section 1983 liability only if the custom is so widespread as to have the force of law.

Bd. of County Comm’rs of Bryan County, Oklahoma v. Brown, 520 U.S. 397, 404 (1997). A

county does not incur section 1983 liability for injuries caused solely by its employees and


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cannot be held liable under section 1983 on a respondeat superior theory. Monell, 436 U.S. at

691, 694. An isolated unconstitutional act by a city employee can almost never trigger section

1983 liability. Piotrowski, 237 F.3d at 578.

       As the City correctly notes, Plaintiff has only pleaded in conclusory fashion that the

Dallas Police Department has a custom or policy of discriminating against African-American

males who are the victimized by women. Plaintiff seemingly concedes this point, as he noted in

his complaint that he needs discovery to determine the nature of the City’s policy. (Doc. 15 at 5).

However, he must first allege sufficient facts to avoid dismissal of his complaint under Rule

12(b)(6), and he has not done so here given his conclusory allegations. See, e.g., Iqbal, 129 S.Ct.

at 1954 (noting that because plaintiff’s complaint was insufficient to survive dismissal under

Rule 12(b)(6) on qualified immunity grounds, he was not entitled to discovery). Further, the

Court cannot consider the articles that Plaintiff attached to his Rule 12(b)(6) response as

supporting evidence in his behalf. See FED . R. CIV . P. 12(d) (requiring that, if matters outside the

pleadings are presented with a Rule 12(b)(6) or Rule 12(c) motion, the court must convert the

dismissal motion into a motion for summary judgment).

       Second, Plaintiff has not sufficiently alleged that the City had an official custom or policy

that was the moving force behind any alleged equal protection violation or that the purported

custom was so widespread as to have the force of law. Bryan County, 520 U.S. at 404;

Piotrowski, 237 F.3d at 578. The Court cannot take judicial notice of any such policies or

customs that Plaintiff claims the City has, because the purported facts do not fall within the ambit

of those recognizable under FED . R. EVID . 201. See FED . R. EVID . 201(b) (providing that a court

may take judicial notice of an “adjudicative fact” if the fact is “not subject to reasonable dispute


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in that it is either (1) generally known within the territorial jurisdiction of the trial court, or (2)

capable of accurate and ready determination by resort to sources whose accuracy cannot be

questioned.). Finally, any allegedly unconstitutional acts by Officer Kelly were isolated acts by

an employee for which the City cannot be held liable on a respondeat superior theory. Monell,

436 U.S. at 691, 694; Piotrowski, 237 F.3d at 578. Thus, Plaintiff’s claims against the City also

should be dismissed pursuant to Rule 12(b)(6).

        D.      Injunctive and Declaratory Relief

        Finally, in his complaint, Plaintiff requested declaratory and injunctive relief to the effect

that the “current practices, policies, actions are unconstitutional.” (Doc. 8 at 5-6). Plaintiff’s

request for declaratory relief should be dismissed because, as noted above, he has not sufficiently

stated a claim that the City of Dallas had an unconstitutional policy or custom which led to the

violation of his equal protection rights.

        In order to be entitled to injunctive relief, Plaintiff must demonstrate that (1) he has a

substantial likelihood of success on the merits; (2) a substantial threat of irreparable injury will

occur absent issuance of the injunction; (3) the threatened injury outweighs the potential damage

the requested injunction may cause the non-movant; and (4) the injunction would not be adverse

to the public interest. Mississippi Power & Light Co. v. United Gas Pipe Line Co., 760 F.2d 618,

621 (5th Cir. 1985). “A preliminary injunction is an extraordinary and drastic remedy which

should not be granted unless the movant has clearly established the burden of persuasion of . . .

the four prerequisites to such relief.” State of Texas v. Seatrain Int’l, 518 F.2d 175, 179 (5th Cir.

1975). In this case, Plaintiff’s request for an injunction should be dismissed because he has not

even specified the nature of the injunctive relief he seeks and thus has not carried his burden of


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demonstrating the requisites for injunctive relief. Id.

                                   III. RECOMMENDATION

       For the reasons set forth above, the Court should GRANT the City of Dallas’s Motion to

Dismiss Plaintiff’s Complaint Pursuant to Rule 12(b)(6), (Doc. 21) and GRANT Officer Kelly’s

Motion to Dismiss Plaintiff’s Complaint Pursuant to Rule 12(b)(6), (Doc. 25).

       SO RECOMMENDED on June 24, 2011.



                                               ________________________________________
                                               RENÉE HARRIS TOLIVER
                                               UNITED STATES MAGISTRATE JUDGE

                           INSTRUCTIONS FOR SERVICE AND
                         NOTICE OF RIGHT TO APPEAL/OBJECT

        A copy of this report and recommendation shall be served on all parties in the manner
provided by law. Any party who objects to any part of this report and recommendation must file
specific written objections within 14 days after being served with a copy. See 28 U.S.C. §
636(b)(1); FED . R. CIV . P. 72(b). In order to be specific, an objection must identify the specific
finding or recommendation to which objection is made, state the basis for the objection, and
specify the place in the magistrate judge’s report and recommendation where the disputed
determination is found. An objection that merely incorporates by reference or refers to the
briefing before the magistrate judge is not specific. Failure to file specific written objections will
bar the aggrieved party from appealing the factual findings and legal conclusions of the
magistrate judge that are accepted or adopted by the district court, except upon grounds of plain
error. See Douglass v. United Services Automobile Ass’n, 79 F.3d 1415, 1417 (5th Cir. 1996).




                                               ________________________________________
                                               RENÉE HARRIS TOLIVER
                                               UNITED STATES MAGISTRATE JUDGE




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